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  7
    Attorneys for Defendant Mid West Fabricating Co.
  8
  9
                               UNITED STATES DISTRICT COURT
 10
                             CENTRAL DISTRICT OF CALIFORNIA
 11
      ARCONIC INC., ET AL,                                   Case No. 2:20-CV-02586-GW (Ex)
 12
                           Plaintiffs,                       NOTICE OF SUBMITTAL TO
 13                                                          THE COURT’S TENTATIVE
                    v.                                       ORDER OF MARCH 2, 2022,
 14                                                          (ECF NO. 142)

 15
 16 CAL-TRON PLATING, INC., ET AL
 17              Defendants.

 18 ------------------------------------------------------
 19 AND RELATED ACTIONS
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 21
 22
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 1         Please take notice that the undersigned parties submit to the tentative order of
 2   the Court dated March 2, 2022, (ECF No. 142). However, the parties wish to bring
 3   to the Court’s attention that the assigned trial date of January 11, 2025 is a Saturday.
 4

 5

 6   Dated: March 2, 2022                    Respectfully submitted,
 7
                                             THE CRONIN LAW GROUP
 8

 9

10                                           BY: /s/_Timothy C. Cronin__________
                                                Timothy C. Cronin
11                                              Attorneys for Defendant
12                                              Mid West Fabricating Co.
13

14    DATED: March 2, 2022                    LATHROP GPM LLP

15

16                                       By: /s/ Ronald A. Valenzuela
                                             Nancy Sher Cohen
17                                           Ronald A. Valenzuela
18                                           Attorneys for Plaintiffs
19
      DATED: March 2, 2022                    VAN NESS FELDMAN LLP
20

21
                                         By: /s/ Brian L. Zagon
22                                           Brian L. Zagon
23                                           Attorney for Defendants
                                             Cal-Tron Plating, Inc.
24

25

26

27

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Case 2:20-cv-02586-GW-E Document 143 Filed 03/02/22 Page 3 of 3 Page ID #:822




 1    DATED: March 2, 2022                    VAN RIPER LAW
 2

 3                                      By: /s/ David Van Riper
 4                                          David Van Riper
                                            Attorney for Defendant
 5
                                            Santa Fe Rubber Products, Inc.
 6

 7    DATED: March 2, 2022                   HAMRICK & EVANS LLP
 8

 9                                     By:    /s/ Thomas P. Schmidt
10                                           Thomas P. Schmidt
                                             Attorney for Defendant
11
                                             Electronic Chrome & Grinding Co.,
12                                           Inc.
13

14
      DATED: March 2, 2022                    WEISS & ZAMAN
15

16
                                        By: /s/ Thomas J. Weiss
17                                          Thomas J. Weiss
18                                          Attorney for Defendant
                                            Vanowen Holdings, LLC
19

20       CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
21         I, Dennis J. Byrne, am the ECF user whose ID and password are being used to
22   file this Joint Status Report. In compliance with C.D. Cal. Civ. L.R. 5-4.3.4(a)(2)(i),
23   I hereby attest that I have obtained the concurrence of each signatory to this
24   document.
25
                                                        /s/ Dennis J. Byrne
26
                                                          Dennis J. Byrne
27

28
